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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,

                   Plaintiffs,

                      vs.                   Case No. 1:25-cv-339-JDB

U.S. Department of Labor, et al.,

                Defendants.


      PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION FOR A
                      PRELIMINARY INJUNCTION




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                                        INTRODUCTION

       Discovery in this case has confirmed just what Plaintiffs have argued. The Department of

Labor (DOL) and the Department of Health and Human Services (HHS) have given members of

the DOGE Teams working at their agencies unfettered, on-demand access to their most sensitive

systems of records. These systems contain deeply personal information, including Social

Security numbers, bank account information, and medical diagnosis and procedure codes. The

agencies have granted this access without even attempting to identify a particularized need for

access to these systems, as required by the Privacy Act, let alone finding that one exists.

Requests for access are fast tracked. Normal systems and security training are ignored. And if

DOGE Team members seek to access additional systems, DOL and HHS will permit them. HHS,

for example, could identify neither an unclassified system of records to which DOGE Team

members would be denied access nor a possible reason for a denial.

       In lieu of the careful, system-by-system and user-by-user approach contemplated by the

Privacy Act, DOL and HHS merely invoke the incantation of “waste, fraud, and abuse” to justify

granting access to any system DOGE Team members choose, no matter how sensitive. But

“waste, fraud, and abuse” are not magic words, and they cannot conjure up a need to grant

DOGE Team members on-demand access to Americans’ most sensitive and personal information.

In any event, this justification is merely illusory: Both Agencies now claim that Executive Orders

required them to grant DOGE Team members access to sensitive systems to review them for

waste, fraud, and abuse. But the first relevant Executive Order mentioning waste, fraud, and

abuse was issued weeks after DOL and HHS granted DOGE Team members access to sensitive

systems. Absent this illusion, it becomes clear that the agencies have no other justification for

granting access to DOGE Team members. DOGE Team members have no need to access this


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information, their access is unlawful, and they have violated the rights of millions of Americans

who have relied on the United States government to protect their private information.

         For these reason, Plaintiffs American Federation of Government Employees (“AFGE”),

American Federation of State, County & Municipal Employees, AFL CIO (“AFSCME”), Service

Employees International Union, AFL-CIO (“SEIU”), Communication Workers of America, AFL-

CIO (“CWA”), and American Federation of Teacher (“AFT”) (collectively, “Plaintiffs”) now

seek a preliminary injunction to halt DOGE Team members’ access to their members private

information and prohibit DOL and HHS from granting the DOGE Team access to additional

sensitive systems.

                                  FACTUAL BACKGROUND

   I.         The Department of Government Efficiency

         On the day of his inauguration, President Trump issued an executive order establishing

the “Department of Government Efficiency,” or “DOGE.” Ex. 1, Exec. Order No. 14,158, 90

Fed. Reg. 8,441 (Jan. 20, 2025) (“Jan. 20 EO”). DOGE was tasked with “implement[ing] the

President’s DOGE Agenda, by modernizing Federal technology and software to maximize

governmental efficiency and productivity.” Id. § 1. The Order envisioned the work of “DOGE”

being implemented across at least three different entities:

         1.      the U.S. DOGE Service (“USDS”) (formerly the U.S. Digital Service),
                 established within the Executive Office of the President and headed by the USDS
                 Administrator;

         2.      the U.S. DOGE Service Temporary Organization (“USDS TO”), also headed by
                 the USDS Administrator and established within the Executive Office of the
                 President; and

         3.      “DOGE Teams,” teams of individuals within each federal agency who “coordinate
                 their work with USDS and advise [] Agency Heads on implementing the
                 President’s DOGE Agenda.”


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Id. § 3(a)-3(c).

        While the two White House entities are formally led by the USDS Administrator,

President Trump “put [] Elon Musk in charge” of the overall DOGE effort.1 An associate of Mr.

Musk’s named Steve Davis serves as the “Chief Operating Officer” of DOGE.2 Mr. Davis is

formally a Senior Advisor within the USDS TO, and detailed to the General Services

Administration. Ex. 2 (Rule 30(b)(6) Dep. of DOGE) (“DOGE Dep.”) at 15:5-23, 87:6-18. Mr.

Davis exercised the decision-making authority of the USDS Administrator until February 18,

when Amy Gleason was formally appointed as the Acting USDS Administrator. Id. at 12:20-

15:4. Mr. Davis also provides advice to DOGE Teams on “how he might implement the

President’s DOGE agenda.” Id. at 15:20-16:8.

        DOGE Teams within federal agencies are themselves made up of at least the following

categories of employees:

        1.         Employees of USDS or the USDS TO, who are either detailed to or concurrently
                   employed by other agencies to serve on their DOGE teams; see, e.g. Ex. 3 (Defs.’
                   Objections & Responses to Pls. Requests (Apr. 4, 2025)) (“Defs. Responses”) at
                   6, 17, 20 (identifying individuals as USDS employees concurrently employed by
                   federal agencies);

        2.         Employees of the General Services Administration or Office of Personnel
                   Management, who are either detailed to or concurrently employed by other
                   agencies to serve on their DOGE Teams; some of these employees may also be
                   concurrently detailed to one of the USDS entities; see, e.g., Ex. 3 (Defs.’
                   Responses) at 8, 10, 14, 20 (identifying GSA and OPM employees who are
                   detailed to or employed by federal agencies as part of their DOGE teams); Ex. 2,
                   (DOGE Dep.) at 68:2-11.

        3.         Employees of the federal agencies themselves, although many of these employees
                   may also be detailed to or concurrently employed by other agencies, including to


1
  See “Remarks by President Trump at Future Investment Initiative Priority Summit,”
https://www.whitehouse.gov/remarks/2025/02/press-gaggle-by-president-trump-at-future-
investment-initiative-institute-priority-summit/.
2
  See, e.g., Fox News, “Elon Musk and DOGE team give behind the scenes look at their
mission,” YouTube (Mar. 27, 2025). https://www.youtube.com/watch?v=l7kQNwJ4H_w.
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                 USDS; see, e.g., Ex. 3, (Defs.’ Responses) at 14-15, 17-19 (identifying DOGE
                 Team members who are employees of Defendant Agencies).

          Concurrent employment across multiple agencies is typical for DOGE Team members, 3

who could be working for eight or more agencies in their DOGE capacity at any given time. See

Ex. 2 (DOGE Dep.) at 93:4-16.

          When USDS and USDS TO personnel are employed by or detailed to a federal agency,

they have “two functions . . . relate[d] to the same agency”—one as an “agency employee” and

another as a USDS staffer “consulting with” the agency. See id. at 87:19-88:24. So, for example,

a USDS or USDS TO employee can recommend that they be onboarded to an agency as a

member of the agency’s DOGE team. See Ex. 4 (Rule 30(b)(6) Dep. of HHS) (“HHS (Rice)

Dep.”) at 19:23-20:19 (USDS TO employee Brad Smith “recommend[ed] that he be detailed to

HHS,” which he was).

    II.      The Three Executive Orders Setting Forth DOGE’s Responsibilities

          Sections 1 and 4(a) of the January 20 EO identify the purpose of DOGE as focused on the

government’s computer technology. Section 1, called “Purpose,” states in full: “This Executive

Order establishes the Department of Government Efficiency to implement the President’s DOGE

Agenda, by modernizing Federal technology and software to maximize government efficiency

and productivity.” Section 4(a) is called “Modernizing Federal Technology and Software to

Maximize Efficiency and Productivity,” and consists of two sentences. The first instructs the

Administrator of the United Staes DOGE Service to “commence a Software Modernization

Initiative to improve the quality and efficiency of government-wide software, network


3
  Reflecting an Order issued by the Court with respect to discovery, “DOGE Team members”
refers to “individuals that the defendant agencies have onboarded for purposes of carrying out
the DOGE Agenda, including those the agencies have directly hired or received as detailees.”
ECF 75 at 4-5.
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infrastructure, and information technology (IT) systems.” The second identifies the projects that

“DOGE Teams” are to undertake at federal agencies: “promote inter-operability between agency

networks and systems, ensure data integrity, and facilitate responsible data collection and

synchronization.”

       To facilitate these projects, section 4(b) directs Agency Heads “to ensure USDS has full

and prompt access to all unclassified agency records, software systems, and IT systems.” This

directive is qualified by the phrase, “to the maximum extent consistent with law,” and adds that

“USDS shall adhere to rigorous data protection standards.”

       The words “waste,” “fraud,” and “abuse” do not appear in the January 20 EO.

       The next Executive Order pertaining to DOGE was issued on February 26, 2025, and is

called “Implementing the President’s ‘Department of Government Efficiency’ Cost Efficiency

Initiative.” Ex. 5(“Feb. 26 EO”). It addresses “Federal spending on contracts, grants, and loans,”

id. § 1 (Purpose), but with two substantial exclusions: it only applies to discretionary spending,

and it does not apply to “direct assistance to individuals; expenditures related to immigration

enforcement, law enforcement, the military, public safety, and the intelligence community; and

other critical, acute, or emergency spending, as determined by the relevant Agency Head,” id. §

2(d). The only section that addresses waste, fraud, and abuse is 3(b), which calls for a review of

“covered” contracts. The other directives concern building a system to record payments and

justifications; reviewing contracting policies, procedures, and personnel; issuing new contract

guidance; creating a system for travel justifications; and the agency’s real property, id. §§ 3(a),

(c)-(g). In many places, these are expressly limited by “applicable law” or equivalent terms.

       The third and most recent DOGE Executive Order, “Stopping Waste, Fraud, and Abuse

by Eliminating Information Silos,” was issued on March 20, 2025. Ex. 6 (“March 20 EO”). It



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calls for officials designated by the President or agencies to “have full and prompt access to all

unclassified agency records, data, software systems, and information technology systems” for

“the identification of waste, fraud, and abuse.” Id. § 3(a). Again, this is limited by “to the

maximum extent consistent with law.” Id.

           The March 20 EO also calls for the Secretary of Labor or her designee—“to the

maximum extent consistent with law”—to have “unfettered access to all unemployment data and

related payment records, including all such data and records currently available to the

Department of Labor’s Office of Inspector General.” Id. § 3(d).

           By its terms, each executive order ostensibly “shall be implemented consistent with

applicable law.” Ex. 1 (Jan. 20 EO) at § 5(b); Ex. 5 (Feb. 26 EO) at § 5(b); Ex. 6 (March 20 EO)

at § 4(b).

    III.      DOGE Team Members Have Been Given Broad Access to Sensitive Systems at
              HHS and DOL

           DOGE Team members have been given access to a number of system of records housed

at Defendant Agencies containing Personally Identifiable Information (PII) and/or Personal

Health Information (PHI) (collectively, “Sensitive Systems”). See also ECF No. 48 at 12

(adopting this definition of Sensitive Systems for the purposes of expedited discovery in this

matter). In a subsequent Order, the Court explained that the Privacy Act “requires that the

employee [to gain access to relevant information] ‘have a need for the record in the performance

of their duties.’” ECF 71 at 10 n.12 (quoting 5 U.S.C. § 552a(b)(1)). The Court permitted

discovery in part because of its relevance “to the question of whether the USDS staffers working

at defendant agencies (direct hires or otherwise) have ‘a need for the record[s]’ they are or were

accessing.” Id.



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        Discovery has shown that each agency rests its determination that the Privacy Act’s

“need” requirement is met as to every Sensitive System by virtue of nothing more than the

DOGE Executive Orders, and typically the January 20 EO standing alone. The January 20 EO,

according to HHS and DOL, alone justifies giving all the DOGE Teams essentially unfettered

access to their Sensitive Systems without any further or more particularized demonstration of

need.

        In other words, discovery has revealed that HHS and DOL have created and applied a

new de facto policy for DOGE Teams and nobody else: DOGE Teams get access to the all the

unclassified systems they want. Team members do not have to explain a particularized need for

access and the Agencies do not have to confirm a particularized need. System and security

trainings required of everyone else to access these systems are optional for DOGE Teams and

frequently have not been completed. Plaintiffs challenge these agency DOGE Data Access

Policies as unlawful.

               A. Department of Labor

        Three DOGE Team members have been given access to, collectively, eight Sensitive

Systems. See Ex. 3 (Defs.’ Responses) at 17-20.4 Access has only been denied to two systems.

One was because of separate litigation involving the Department of the Treasury’s access to the

same system. The other was due to a software limitation preventing read-only access. See Ex. 7

(Rule 30(b)(6) deposition of DOL) (“DOL Dep.”) at 87:17-88:20.




4
 The DOL systems are: USAccess; HSPD-12 Enterprise Physical Access Control System;
Directory Resource Administrator; Unemployment Insurance Data and Related Records; HR
Connect; New Core Financial Management System; Payment Management System; and Office
of Job Corps Electronic Information System. See Ex. 3 (Defs.’ Responses) at 17-19.
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       One of these Sensitive Systems, for example, is the Unemployment Insurance Data and

Related Records. It contains unemployment insurance claims data from state agencies. The PII in

this system includes social security numbers, addresses, and bank account information. See id. at

59:9-60:16. DOGE Team members have also been granted access to a system called USAccess,

which provides Personal Identity Verification to federal agencies for employees, U.S. General

Services Administration, “About USAccess,” https://www.gsa.gov/technology/it-contract-

vehicles-and-purchasing-programs/federal-credentialing-services/about-usaccess, and includes

names, birthdates, and Social Security numbers, Ex.11 (Request to Access DOL Information

System) at 2.

       DOL primarily cites the January 20 EO as the basis for providing the DOGE Team

members with access to the Department’s Sensitive Systems. See DOL Dep. at 76:21-77:1,

78:15-20. DOL claims that, standing alone, that Executive Order makes it “apparent” that there is

a legitimate need for access. Id.; see also id. at 72:9-19, 75:11-19; 78:15-79:11. DOL relies on no

other information to determine that DOGE Teams must be given access. See id. at 79:12-18. This

contrasts sharply with the process when other DOL employees seek access. They are asked

various questions that DOGE Team members are not asked in what DOL confirmed is a “robust

analysis” of an employee’s need for access. See id. at 59:1-8, 75:20-76:20.

       Defendants justify their reliance on the January 20 EO by invoking the mantra of waste,

fraud, and abuse. See id. at 21:17-22, 34:10-35:1, 41:14-42:5, 42:16-43:3, 126:22-127:18. And,

as a factual matter, DOGE Team members at DOL had access to Sensitive Systems when only

the January 20 EO existed. Ex. 3 (Defs.’ Responses) at 17-20. But the January 20 EO does not

mention waste, fraud, or abuse at all. See Ex. 1 (Jan. 20 EO).




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       The February 26 EO, in contrast, does mention waste, fraud, and abuse, see Ex. 5 (Feb.

26 EO), but DOL has made no attempt to rely on it. Nor has it given any indication in its written

discovery responses, the documents it produced, or its testimony that it ever considers the

distinction in the February 26 EO between “covered” contracts and grants and the large category

of programs excluded from the Executive Order’s reach, a necessary consideration for that EO.

       In addition to dispensing with individualized analysis of DOGE Teams’ justifications for

accessing agency data, DOL also has dispensed with its security requirements in providing

access to DOGE Teams, despite assuring the Court that it would “establish confidentiality

protocols” for their access to DOL systems. Ex. 10 (Decl. of R. Kryger) (ECF 31-1) at ¶ 9. It has

done so in at least three ways:

       •   Not requiring User Agreements. The Office of DOL’s Chief Information Officer has a
           “User Agreement” form that, ostensibly, must be signed by all DOL employees and
           contractors before accessing Sensitive Systems. Ex. 7 (DOL Dep.) at 109:2-110:12.
           The form confirms that the user “has completed the standard computer security
           training for DOL.” Id. at 109:12-16. Aram Moghaddassi’s form is not signed. See Ex.
           8 (Moghaddassi User Agreement). Elez Marko’s form was not signed until March 25,
           2025. See Ex. 9 (Marko User Agreement). DOL’s representative testified that
           Moghaddassi should not have been given access to Sensitive Systems, and that Elez
           should not have been prior to March 25. See Ex. 7 (DOL Dep.) at 110:13-112:4. Yet
           Moghaddassi was given access to five Sensitive Systems, and Elez to four—all before
           March 25. See Ex. 3 (Defs.’ Responses) at 17-18.

       •   Not requiring agreement to Rules of Behavior. DOL stated in interrogatory responses
           that Elez and Moghaddassi signed “Rules of Behavior” for each Sensitive System to
           which they were given access. See Responses at 18, 19. But DOL obtained the data in
           the Unemployment Insurance Data and Related Records system on or about March
           20, 2025, pursuant to the March 20 EO and gave Elez and Moghaddassi access on
           March 21, 2025, without first establishing any Rules of Behavior for them to sign.
           See Ex. 7 (DOL Dep.) at 59:9-62:8, 107:3-107:24; Ex. 3 (Defs.’ Responses) at 17, 18.

       •   Installing unauthorized software systems. Elez installed two software systems at
           DOL. DOL does not permit employees to install either without permission. Elez did
           not have permission, yet there were no consequences. See Ex. 7 (DOL Dep.) at
           112:21-115:14, 116:23-117:9; Ex. 3 (Defs.’ Responses) at 18.




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               B. Department of Health and Human Services

       The story is effectively the same at HHS. Ten DOGE Team members at HHS have been

given access to Sensitive Systems. See Ex. 3 (Defs. Responses) at 6-16; Ex. 12 (chart prepared

by HHS 30(b)(6) witness J. Wendel used as exhibit 8 in deposition) (“Wendel Chart”); Ex. 13

(Rule 30(b)(6) Dep. of HHS) (“HHS (Wendel) Dep.”) at 9:19-10:22. Collectively, they have been

given access to 19 of these systems. See Ex. 12 (Wendel Chart); Ex. 13 (HHS (Wendel) Dep.) at

28:2-29:10; Ex. 14 (list of systems). HHS has not denied any requests from DOGE Team

members for access to a Sensitive System and cannot even identify a reason why a request would

be denied. See Ex. 13 (HHS (Wendel) Dep.) at 36:21-37:6; Ex. 3 (Defs.’ Responses) at 6-17.

Rather, the Team members simply choose the systems they want to access. See Ex. 13 (HHS

(Wendel) Dep.) at 38:2-7. HHS has never before provided such broad access to individual

employees. See id. at 41:25-42:6.

       The Sensitive Systems at issue include, for example, the Centers for Medicare &

Medicaid Services’ HIGLAS (Healthcare Integrated General Ledger Accounting System) and

IDR (Integrated Data Repository) systems. See Ex. 12 (Wendel Chart) at 1; Ex. 3 (Defs.’

Responses) at 7, 8, 9, 12. 15. These contain PII and PHI, such as names, Social Security

numbers, dates of birth, financial account information, health insurance claim numbers, medical

record numbers, medical notes, physician identification numbers, diagnosis codes, procedure

codes, and more. See Ex. 12 (Wendel Chart) at 1.

       HHS’s representative testified that it granted access to HIGLAS, IDR, and the other 17

Sensitive Systems based solely on the DOGE Executive Orders, without distinguishing among

their separate directives. See Ex. 13 (HHS (Wendel) Dep.) at 29:11-31:3. The representative

asserted that the DOGE Team members’ access was justified and necessitated by their search for
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“waste, fraud, and abuse” pursuant to the Executive Orders. For example, she stated that Luke

Farritor needed access to HHS’ Consolidated Acquisition System (“HCAS”) “because under the

executive order HHS was required to look at systems for waste, fraud and abuse.” Id. at 27:11-

14; see also 32:16-20; 33:2-5; 42:19-21; 43: 4-9; 44:3-19; 47: 4-22; 48:1-3. This would seem to

rule out the January 20 Executive Order as a basis for access because, as noted, it is narrowly

focused on technology, not the search for waste, fraud, and abuse on which DOGE Team

members have spent their time. But the timing demonstrates that HHS nevertheless either

considers the January 20 Executive Order independently sufficient to grant access or had no

basis to grant access. That is apparent because four of the DOGE Team members were given

access to Sensitive Systems before the second DOGE Executive Order was issued on February

26, 2025. See Ex. 3 (Defs.’ Responses) at 6, 7, 12, 16. Farritor had access to nine Sensitive

Systems before then, including HCAS as of January 29. See id. at 7. Providing further

confirmation, the January 20 EO is the only one cited by HHS in its interrogatory responses as

justifying the DOGE Team members’ access to Sensitive Systems. See id. at 6-16.

       Of a piece with HHS’s sole reliance on the January 20 EO to grant access, it does not

review systems individually to determine whether to grant access to a DOGE Team member. See

Ex. 13 (HHS (Wendel) Dep.) at 31:4-13. And like DOL, there is no indication that HHS

considers the February 26 EO’s distinction between contracts and grants to which it applies and

the many to which it does not apply.5 This Executive Order, which contains the first mention of

waste, fraud, and abuse, has not been relevant to the access granted by HHS.



5
  Medicare and Medicaid, for example, are not covered by the February 26 EO’s provision
regarding waste, fraud, and abuse because they are mandatory spending, not discretionary. E.g.,
compare Congressional Budget Office, Mandatory Spending in Fiscal Year 2024: An
Infographic, https://www.cbo.gov/publication/61182 (listing Medicare and Medicaid) with

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        Consistent with the unprecedented broad access to Sensitive Systems given to DOGE

Team members, HHS (like DOL) has dispensed with training and security briefing requirements.

In the ordinary course, HHS employees must have “higher level training” for access to HIGLAS

and IDR because the information in them is especially sensitive. See Ex. 4 (HHS (Rice) Dep.) at

31:7-32:16; Ex. 13 (HHS (Wendel) Dep.) at 11:13-12:5. That training is documented. See Ex. 4

(HHS (Rice) Dep.) at 32:17-33:1. Four DOGE Team members have been given HIGLAS

access—Luke Farritor, Edward Coristine, Marko Elez, and Aram Moghaddassi, see Ex. 12

(Wendel Chart) at 1—but only Farritor received the HIGLAS security briefing, compare Ex. 3

(Defs.’ Responses) at 8 (Farritor) to id. at 8-12 (Coristine, Elez, and Moghaddassi). Likewise,

five DOGE Team members have been given IDR access—Farritor, Coristine, Elez, Moghaddassi,

and Zach Terrell, see Ex. 12 (Wendel Chart) at 1—but only Farritor received the IDR computer-

based training, compare Ex. 3 (Defs.’ Responses) at 8 (Farritor) to id. at 8-12, 14-16 (Coristine,

Elez, Moghaddassi, and Terrell).

                                           ARGUMENT

                                      LEGAL STANDARDS

   I.      Preliminary Injunctions

        Plaintiffs seek a preliminary injunction enjoining Defendants from effectuating the

DOGE Access Policies. “The purpose of a preliminary injunction is merely to preserve the

relative positions of the parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch,

451 U.S. 390, 395 (1981). See also Dellinger v. Bessent, No. 25-5028, 2025 WL 559669, at *3

(D.C. Cir. Feb. 15, 2025), citing Cobell v. Kempthorne, 455 F.3d 301, 314 (D.C. Cir. 2006) (“The



Congressional Budget Office, Discretionary Spending in Fiscal Year 2024: An Infographic,
https://www.cbo.gov/publication/61184 (excluding them except for administrative costs).
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usual role of a preliminary injunction is to preserve the status quo pending the outcome of

litigation.”) (cleaned up).

          When considering a motion for a preliminary injunction, the Court must consider whether

the movant has met its burden of demonstrating that: (1) it “is likely to succeed on the merits,”

(2) it is “likely to suffer irreparable harm in the absence of preliminary relief,” (3) “the balance

of equities tips in [its] favor,” and (4) an injunction serves the public interest. Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 20 (2008). Where the party against whom the injunction is sought

is the government, the final two [] factors—balancing the equities and the public interest—

merge. Pursuing Am.’s Greatness v. Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016);

D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020).

    II.      The Administrative Procedure Act

          The Administrative Procedure Act (“APA”) permits plaintiffs to seek judicial review of

“final agency action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704. To

be reviewable under the APA, the challenge must be to an “agency action,” which “includes the

whole or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial

thereof, or failure to act.” 5 U.S.C. § 551(13). Such an action is “final” if it is “the consummation

of the agency’s decisionmaking process . . . by which rights or obligations have been determined

or from which legal consequences will flow.” Venetian Casino Resort, LLC v. EEOC., 530 F.3d

925, 931 (D.C. Cir. 2008) (alterations in original) (quoting Bennett v. Spear, 520 U.S. 154, 177–

78 (1997)).

          As relevant here, the APA provides that a reviewing court shall “hold unlawful and set

aside” agency actions found to be “arbitrary, capricious,” or “otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). An “agency action is ‘not in accordance with law’ if it violates some


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extant federal statute or regulation.” Ovintiv USA, Inc. v. Haaland, 665 F. Supp. 3d 59, 72

(D.D.C. 2023) (quoting E. Band of Cherokee Indians v. Dep’t of the Interior, 534 F. Supp. 3d 86,

97 (D.D.C. 2021)). An agency action is arbitrary and capricious if the agency failed “to examine

all relevant factors and record evidence, and to articulate a reasoned explanation for [its]

decision.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017). This

requires that the agency “examine the relevant data and articulate a satisfactory explanation for

its action including a ‘rational connection between the facts found and the choice made.’” Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). Agency action fails

to satisfy this standard if the agency “failed to consider an important aspect of the problem,” id.,

or if it “offer[s] an explanation for its decision that runs counter to the evidence before the

agency,” Am. Wild Horse Pres. Campaign, 873 F.3d at 923. In short, the APA’s arbitrary and

capricious standard “requires agencies to engage in ‘reasoned decisionmaking’” Dep’t of

Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 16 (2020) (quoting Michigan v. EPA,

576 U.S. 743, 750 (2015)).

   III.      The Privacy Act of 1974

          The Privacy Act of 1974 was passed to “provide certain safeguards for an individual

against an invasion of personal privacy by requiring Federal agencies” to, among other things,

“collect, maintain, use, or disseminate any record of identifiable personal information in a

manner that assures that such action is for a necessary and lawful purpose . . . and that adequate

safeguards are provided to prevent misuses of such information.” Privacy Act of 1974, 88 Stat.

1896 (1974) at §§ 2(b), 2(b)(4). “[I]n order to protect the privacy of individuals identified in

information systems maintained by Federal agencies,” Congress decided “to regulate the


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collection, maintenance, use, and dissemination of information by such agencies.” Id. at §

2(a)(5).

        The Privacy Act prohibits an agency from “disclos[ing] any record which is contained in

a system of records . . . to any person, or to another agency, except pursuant to a written request

by, or with the prior written consent of, the individual to whom the record pertains.” 5 U.S.C. §

552a(b). The Privacy Act defines “records” as

        any item, collection, or grouping of information about an individual that is
        maintained by an agency, including, but not limited to, his education, financial
        transactions, medical history, and criminal or employment history and that
        contains his name, or the identifying number, symbol, or other identifying
        particular assigned to the individual, such as a finger or voice print or a
        photograph.

5 U.S.C. § 552a(a)(4). A “system of records,” under the statute, “means a group of any records

under the control of any agency from which information is retrieved by the name of the

individual or by some identifying number, symbol, or other identifying particular assigned to the

individual.” Id. § 552a(a)(5). As relevant here, an exception to section 552a(b)’s broad

prohibition on unconsented disclosure is provided where the records are disclosed “to those

officers and employees of the agency which maintains the record who have a need for the record

in the performance of their duties.” Id. § 552a(b)(1).

                                            ARGUMENT

   I.      Plaintiffs are Likely to Establish That They Have Standing

        Plaintiffs demonstrate that they are likely to establish standing of Plaintiffs. Indeed, while

Plaintiffs establish that five Plaintiffs have standing, Plaintiffs only need establish that one

Plaintiff has standing with respect to each Defendant in order for each claim to proceed. Vill. Of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 & n. 9 (1977); Mem. Op., ECF

78 at 11. Plaintiffs easily meet this standard.

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               A. Plaintiffs Have Associational Standing to Challenge Unlawful Data
               Disclosures at DOL and HHS

       The Plaintiffs have associational standing to challenge the data disclosures at DOL and

HHS. To establish associational standing, a plaintiff must show that “(1) its members would

otherwise have standing to sue in their own right; (2) the interests it seeks to protect are germane

to the organization’s purpose; and (3) neither the claim asserted nor the relief requested requires

the participation of individual members in the lawsuit.” Int’l Dark-Sky Ass’n, Inc. v. FCC, 106

F.4th 1206, 1217 (D.C. Cir. 2024) (citation omitted). In evaluating Plaintiffs’ standing, the Court

must “assume [Plaintiffs] will prevail on the merits.” LaRoque v. Holder, 650 F.3d 777, 785

(D.C. Cir. 2011).

                    i. Members of Plaintiffs Have Article III Standing

       Here, the Plaintiffs have identified individual members who have Article III standing to

sue based on the past and ongoing unlawful disclosures of their private and confidential records

to DOGE Team members. To establish Article III standing of a member, a Plaintiff “must show

that: (1) [the member] has suffered an injury-in-fact that is concrete and particularized and actual

or imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the challenged

action; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Sierra Club v. FERC, 827 F.3d 59, 65 (D.C. Cir. 2016) (citation omitted).

Injury in fact is “[f]irst and foremost’ of standing’s three elements.” Spokeo, Inc. v. Robins, 578

U.S. 330, 338 (2016) (citation omitted). “[A]n injury in fact” is “an invasion of a legally

protected interest which is . . . concrete and particularized and . . .actual or imminent, not

conjectural or hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citations

omitted). An “intangible harm,” like the harm from disclosure of private information, is concrete



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if the plaintiffs “have identified a close historical or common-law analogue for their asserted

injury.” TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021).

       Members of the Plaintiffs have already been injured because their members’ data has

been unlawfully disclosed to DOGE Team members. As this Court has recognized, intra-agency

disclosure of private data is concrete for standing purposes because it has a close analogue in the

harms suffered in the torts for intrusion upon seclusion and breach of confidence. ECF 78 at 14-

17; see also All. for Retired Ams. v. Bessent, Civ. A. No. 25-0313, 2025 WL 740401, at *15–17

(D.D.C. Mar. 7, 2025); Am. Fed’n of Tchrs. v. Bessent, Civ. A. No. 25-0430, 2025 WL 895326, at

*7–13 (D. Md. Mar. 24, 2025); Am. Fed’n of State, Cnty. and Mun. Emps., AFL-CIO v. Soc. Sec.

Admin., Civ. A. No. 25-0596, 2025 WL 868953, at *35–43 (D. Md. Mar. 20, 2025). To the extent

there is any difference between the private sphere traditionally recognized by these torts and the

sphere of seclusion for an individuals’ private data, Congress has both created a reasonable

expectation of privacy in that data and “elevate[d]” violations of the Privacy Act “to the status of

legally cognizable injuries.” TransUnion, 594 U.S. at 425; see Mem. Op., ECF 78, at 16-17; see

also Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (relevant question is

whether disclosure implicates “the same kind of harm that common law courts recognize”).

        The record in this case confirms that union members’ private information has been and

will continue to be disclosed to DOGE Team members. Individual members of the Plaintiff

Unions have PII stored at DOL because they are DOL employees, see ECF 29-8 at ¶ 4, or

because they have applied for unemployment insurance, see Ex. 15 (Decl. of M. Evermore) ¶¶ 4-

7; Ex. 16 (Decl. of C. Sullivan) ¶ 6; Ex. 17 (Decl. of T. Fry) ¶¶ 4-5; Ex. 18 (Decl. of J. Reese) ¶¶

4-7; Ex. _ (Decl. of D. Duckett) ¶¶ 5-8. At DOL, DOGE Team members have been granted

access to a variety of systems containing employee data, including of the Plaintiffs’ members,



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see supra at 8, as well as Unemployment Insurance Data and Related Records, which includes

social security numbers, addresses, and bank account information, Ex. 3 (Defs.’ Responses) at

17-18; Ex. 7(DOL Dep.) at 59:9-60:16. DOGE Team members have access to most of these

systems to this day and can access them at any time. See Ex. 3 (Defs.’ Responses) at 6-15, 17-20.

       Plaintiffs’ members’ PHI and PII is stored at HHS because the members are Medicare

recipients, Ex. 20 (Decl. of P. Welsh) ¶¶ 3-4; Ex. 21 (Decl. of D.M. Smith) ¶¶ 7-8; Ex. 22 (Decl.

of W. Wetmore) ¶¶ 3-5; Ex. 23 (Decl. of D. Gray) ¶ 4; ECF 29-18 ¶ 3; ECF 29-20 ¶ 4; ECF 29-2

¶ 4; ECF 29-22 ¶ 4; Ex. 38 (Decl. of L. Nucci) ¶¶ 4-5. As Defendants admit, DOGE Team

members have received ongoing access to and in fact accessed systems containing Plaintiffs’

members’ sensitive information, often without the requisite training and authorization. See Ex. 3

(Defs.’ Responses) at 6-15, 17-20; Ex. 12 (Wendel Chart). At HHS, for example, the 19 systems

to which DOGE Team members have been granted access include the HIGLAS and IDR—which

DOGE Team members have accessed without a demonstrated need and without going through

the training required for users of these systems. See Ex. Ex. 4 (HHS (Rice) Dep.) at 31:2-33:1,

35:8-36:21; Ex. 13 (HHS (Wendel) Dep.) at 11:13-13:17; Ex. 12 (Wendel Chart); Ex. 3 (Defs.’

Responses) at 7-10, 12, 15. These systems hold extremely sensitive information including Social

Security numbers, medical diagnosis codes, medical procedure codes, health insurance claim

numbers, employee identification numbers, and medical notes—as well as information sufficient

to link these records to specific individuals, such as their names, dates of birth, phone numbers,

and physical and email addresses. Ex. 12 (Wendel Chart). They contain, in short, a full medical

profile of this country’s Medicare recipients.

       Moreover, the risk of additional future harm is imminent. Plaintiffs’ members face both

the risk that the current members of the DOGE Team will access additional Sensitive Systems of



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record and the risk that DOL and HHS will provide additional DOGE Team members (either

direct hires or detailees) access to Plaintiffs’ members’ data. And these risks are real: the record

shows that DOL and HHS will grant DOGE Team members on-demand access to any

unclassified system of records at the agencies—the DOGE Team member need only ask. See

supra at 6-12. The agencies do this even at the expense of their normal security protocols. See

supra at 9, 11-12. When a new or current DOGE Team member decides to access yet another

system containing Plaintiffs’ members’ highly sensitive data, both DOL and HHS have made

clear that they will grant the access, no questions asked.

       In addition, union members have standing to challenge the Defendant Agencies’ Access

Policies because Defendant Agencies have caused Plaintiffs’ members’ injuries and a favorable

decision would redress those harms. Causation requires “a fairly traceable connection

between . . . the complained-of conduct” and the claimed injury. Steel Co. v. Citizens for a Better

Env’t, 523 U.S. 83, 103 (1998). Redressability requires “a likelihood that the requested relief will

redress the alleged injury.” Id. The D.C. Circuit has recognized that the two “‘are closely related’

like ‘two sides of a…coin.’” West v. Lynch, 845 F.3d 1228, 1235 (D.C. Cir. 2017) (alteration in

original) (quoting Dynalantic Corp. v. Dep’t of Def., 115 F.3d 1012, 1017 (D.C. Cir. 1997)).

       Plaintiffs’ members easily check these boxes. Here, the challenged conduct—the

Defendant Agencies’ adoption and implementation of the Access Policies—has caused and

continues to cause the unlawful disclosure of members’ private and sensitive information.

Redressability follows like the other side of that same coin: Plaintiffs seek an injunction

prohibiting Defendant Agencies from giving the DOGE Team access to sensitive systems of

records. By its very nature, this requested relief would prevent ongoing illegal disclosures to the

DOGE Team. See All. for Retired Ams., 2025 WL 740401, at *18.



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                 ii.     Protecting Members Private Data is Germane to Plaintiffs’ Purpose

          The subject matter of this litigation is also germane to the Plaintiffs’ purposes—a fact

Defendants have thus far not disputed. All Plaintiffs work to protect their members’ interests and

have specifically advocated to expand and protect access to Medicare, increase worker access to

unemployment insurance, and protect member privacy, including in their data. See generally Ex.

24 (Decl. of D. McNeil); Ex. 25 (Decl. of K. Coakley Harrison); Ex. 39 (Decl. of E. Medina

Neuman); Ex. 26 (Decl. of A. van Schaick); Ex. 40 (Decl. of W. Weiner); ECF 29-15 ¶¶ 4-10.

Indeed, each Plaintiff Union has taken actions unrelated to current litigation to protect and

advocate for their members’ privacy interests, from offering insurance coverage to members for

the unlawful disclosure of their data, Ex. 24 (Decl. of D. McNeil) ¶¶ 7-9, 19, to bargaining over

workers’ rights not to be monitored in the workplace, Ex. 26 (Decl. of A. van Schaick) ¶ 6; Ex.

25 (Decl. of K. Coakley Harrison) ¶¶ 7-9; ); Ex. 39 (Decl. of E. Medina Neuman) ¶ 5. And other

courts addressing standing in other cases about DOGE’s access to data have specifically

recognized that protecting members’ private data is germane to the purposes of Plaintiffs AFGE,

SEIU, and AFT. See All. for Retired Americans, 2025 WL 740401, at *13; Am. Fed’n of Tchrs. v.

Bessent, 2025 WL 895326, at *7.

   iii.      This Litigation Will Not Require the Active Participation of Union Members

          Finally, neither the claims advanced in this litigation nor the relief requested will require

the participation of individual union members. Here, Plaintiffs seek only declaratory and

injunctive relief. “‘[I]ndividual participation’ is not normally necessary when an association

seeks prospective or injunctive relief for its members.” United Food & Com. Workers Union Loc.

751 v. Brown Grp., Inc., 517 U.S. 544, 546 (1996) (quoting Hunt v. Washington State Apple

Advert. Comm’n, 432 U.S. 333, 343 (1977)); see also Warth v. Seldin, 422 U.S. 490, 515 (1975).


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Courts routinely hold that individual member participation is not necessary when only injunctive

and declaratory relief is sought in APA cases. Powder River Basin Res. Council v. U.S. Dept of

Interior, 749 F. Supp. 3d 151, 162 (D.D.C. 2024), appeal dismissed sub nom. Powder River

Basin Res. Council v. United States Dep’t of the Interior, No. 24-5268, 2025 WL 826502 (D.C.

Cir. Mar. 13, 2025); Nat’l Ass’n for Gun Rts., Inc. v. Garland, 741 F. Supp. 3d 568, 589 (N.D.

Tex. 2024); Sierra Club v. Perry, 373 F. Supp. 3d 128, 135 (D.D.C. 2019). In the past few

weeks, multiple courts haves specifically recognized plaintiffs can seek injunctive relief pursuant

to the APA for agency actions that violate the Privacy Act. See, e.g., All. For Retired Ams., 2025

WL 740401, at *15; New York v. Trump, No. 25-CV-01144 (JAV), 2025 WL 573771, at *12

(S.D.N.Y. Feb. 21, 2025), opinion modified on denial of reconsideration, No. 25-CV-1144 (JAV),

2025 WL 1095147 (S.D.N.Y. Apr. 11, 2025).

         The nature of the claims confirms that individual participation is not necessary. Plaintiffs

challenge agency-wide policies to give DOGE Team members unfettered, on-demand access to

sensitive systems of records without any showing of individualized need. As a result, the relevant

questions address whether the policies exist—and discovery has confirmed that they do—and

whether they violate the APA, the Privacy Act, and other laws, not whether any particular

disclosure occurred or was lawful. Because “[n]either these claims nor the relief sought”

involved consideration of “the individual circumstances” of Plaintiffs’ members, member

participation is not necessary. Int’l Union, United Auto., Aerospace & Agr. Implement Workers of

Am. v. Brock, 477 U.S. 274, 287 (1986).

   II.      Plaintiffs are Likely to Succeed on the Merits of Their Claims

            A. The DOGE Data Access Policies Violate the APA

                1.      The DOGE Data Access Policies are Final Agency Action


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       The “DOGE Data Access Policies” described above, see supra at 6-12—systematically

granting DOGE Team members access to Sensitive Systems, without individualized

confirmation of DOGE Teams’ needs and in violation of normal training and documentation

requirements for Sensitive System access—amount to a wholesale rewrite of Defendant

Agencies’ data access policies. They constitute final agency action and are susceptible to the

APA’s provisions for judicial review.

       Final agency actions are those (1) which “mark the consummation of the agency’s

decisionmaking process,” as opposed to decisions of a “merely tentative or interlocutory nature;”

and (2) “by which rights or obligations have been determined, or from which legal consequences

will flow.” U.S. Army Corps of Eng’rs v. Hawkes Co., Inc., 578 U.S. 590, 597 (2016) (citation

omitted).

       An action need not take the form of a formal written policy to be “final.” Mem. Op., ECF

78 at 26; see also Her Majesty the Queen in Right of Ontario v. EPA, 912 F.2d 1525, 1531 (D.C.

Cir. 1990) (The “absence of a formal statement of the agency’s position . . . is not dispositive.”).

In Venetian Casino Resort, L.L.C. v. EEOC, 530 F.3d 925, 931 (D.C. Cir. 2008), the D.C. Circuit

held that the Equal Employment Opportunity Commission’s adoption of a policy allowing

disclosure of an employer’s confidential information without notice to that employer constituted

final agency action reviewable under the APA. The D.C. Circuit viewed this as so self-evident

that the sum of its discussion of the issue is that the policy “is surely a ‘consummation of the

agency’s decisionmaking process,’ and ‘one by which . . . rights [and] obligations have been

determined.’” Id. (quoting Bennett, 520 U.S. at 177-78).

       As this Court has held, Venetian Casino “is on all fours here.” ECF 78 at 26. The factual

record demonstrates that HHS and DOL have made final determinations that DOGE Teams are



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to be given unfettered, on-demand access to Sensitive Systems without regard to existing agency

policies. DOL has entirely dispensed with its usual security requirements for DOGE Team

members, see supra at 6-8, 10-11, and concedes that the normal questions DOL would answer

before granting employees access “don’t get asked of” DOGE, see Ex. 7 (DOL Dep.) at 76:1-20,

89:7-20. The normal training and certification requirements do not apply to DOGE Team

members at DOL. See Ex. 7 (DOL Dep.) at 109:2-112:4. HHS admits that it does not undertake

any “individualized review” of the DOGE Team’s access requests, has granted DOGE Teams

access that no other HHS employee has ever received, has not denied access to any system, and

would not bar DOGE Teams access to any unclassified system. See Ex. 13 (HHS (Wendel) Dep.)

at 31:4-33:19, 36:21-24, 39:20-40:21, 41:25-42:6.

       And both agencies have concluded that DOGE Team Members’ unfettered access is

required and justified by the January 20 EO, indicating that the DOGE Data Access Policies will

continue to be operative for the foreseeable future. See supra 6-8, 10-11.

       The record shows sweeping, categorical changes in how each Defendant Agency

approaches its obligations to safeguard Sensitive Systems with the entrance of DOGE Team

members. These policies are not tentative or interlocutory—they are the policies that determine

DOGE’s access to Agencies’ systems. And they determine the obligations of Agency employees

vis a vis access to Sensitive Systems, and alter the rights of every individual whose sensitive data

is stored by the agencies.

               2.      The DOGE Data Access Policies are Arbitrary and Capricious

       Defendants’ DOGE Data Access Policies are arbitrary and capricious. Agency rules

“must examine the relevant data and articulate a satisfactory explanation for its action including

a rational connection between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n



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of U.S., 463 U.S. at 43 (internal quotation marks and citation omitted). “Normally, an agency

rule would be arbitrary and capricious if the agency . . . entirely failed to consider an important

aspect of the problem . . . or is so implausible that it could not be ascribed to a difference in view

or the product of agency expertise.” Id. In considering an agency’s action, the reviewing court

“may not supply a reasoned basis for the agency’s action that the agency itself has not given.” Id.

(internal quotation marks and citation omitted).

                   a.      The Defendant Agencies Have Not Acknowledged or Justified
                           Their Change in Policy

       Defendants’ DOGE Data Access Policies have handed over sensitive data on millions of

Americans to DOGE with no meaningful acknowledgement or justification from the Defendant

Agencies. “[A]n ‘[u]nexplained inconsistency’ in agency policy is ‘a reason for holding an

interpretation to be an arbitrary and capricious change from agency practice.’” Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016) (second alteration in original). “An

agency may not . . . depart from a prior policy sub silentio or simply disregard rules that are still

on the books,” and it must “show that there are good reasons for the new policy.” Fed.

Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). While an agency

need not “demonstrate . . . that the reasons for the new policy are better than the reasons for the

old one” or “provide a more detailed justification than what would suffice for a new policy

created on a blank slate,” it must at least “display awareness that it is changing position.” Id.

       The Defendant Agencies refused to acknowledge that they have made any change in their

policies concerning Sensitive System access at all, and in doing so have failed to even attempt to

present a reasoned basis for the wholesale changes that the record shows they have in fact made.

That is sufficient to find the DOGE Data Access Policies to be arbitrary and capricious.




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       The Agencies’ assertions that no change to their access policies has been made are belied

by the record. DOL claims that the policy they use for granting access to DOGE Teams is “the

same” as that used for DOL employees, but is simply “treat[ed] with more urgency.” Ex. 7 (DOL

Dep.) at 89:7-90:10. Yet DOL:

       •   created a bespoke process for DOGE Team members to access Sensitive Systems,
           giving DOL just “24 hours notice” in which to address confidentiality, conflicts of
           interest, and privacy concerns before DOGE enters a System, see id. 89:7-20;

       •   concedes that the normal questions DOL would answer before granting employees
           access to the Unemployment Database “don’t get asked of” DOGE Teams, id. 76:1-
           20;

       •   acknowledges that the normal training and certification requirements have not applied
           to DOGE Team members at DOL, id. 109:2-112:4;

       •   acknowledges that the process for granting DOGE Teams access to Sensitive System
           departed from the “normal practice” of seeking system access from an employee’s
           supervisor, and instead went directly through the Chief Information Officer, see id.
           33:3-34:8.

       HHS insists that there are not “different policies” that apply to DOGE Team’s system

access versus other HHS employees. Ex. 13 (HHS (Wendel) Dep.) at 38:24-39:19. But this

denial is belied by HHS’s acknowledgements that:

       •   HHS grants Sensitive System access to DOGE without any “individualized review”
           of DOGE’s access requests, id. 31:4-33:19;

       •   DOGE Team members “should have” received system-specific training before
           gaining their access (and did not), see id. 11:20-14:3;

       •   DOGE Teams have been granted access that no other HHS employee has ever
           received; id. 41:25-42:6;

       •   DOGE Teams have not been denied access to any system, id. 36:21-24; and

       •   HHS would not expect to bar DOGE Teams access to any unclassified system. See id.
           39:20-40:21.




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       The APA does not allow Defendants to insist that no reviewable policy change has taken

place while fundamentally altering the terms on which a new entity is granted unfettered access

to Americans’ data.

                   b.      The DOGE Data Access Policies Failed to Consider Key Issues

       The hastiness with which the DOGE Data Access Policies were adopted also precluded

Defendant Agencies from engaging in any careful consideration of potential drawbacks to their

approach. In the scramble to share Americans’ data with DOGE, Defendants lost sight of all

other considerations—the need to protect Americans’ privacy, the potential chilling effects of

disclosure, financial or bodily harm that could result from disclosures, conflicts of interest, and

the reliance interests of the American people. The APA required that they consider these

important factors; because they did not, the resulting policies are arbitrary and capricious.

       An agency rule is arbitrary and capricious if it “entirely fail[s] to consider an important

aspect of the problem” or is “so implausible that it could not be ascribed to a difference in view

or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., 463 U.S. at 43. Here,

HHS and DOL failed to consider numerous important factors, including the factors Congress has

established to guide agencies’ decisionmaking, the reliance interests of those providing private or

confidential information to the government, and the potential for significant conflicts of interest.

       First, in considering how to shape DOGE Team members’ access, Defendants had ample

guidance from statutes and their own regulations about the “important aspects of the problem” it

should consider. In addition to strictly regulating sensitive data disclosures to “any person,” see 5

U.S.C. § 552a(b), the Privacy Act also places a variety of affirmative requirements on agencies.

It requires, for example, that each agency record access regimes establish clear “rules of

conduct” for people with systems access and training on the “rules and the requirements of the



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Privacy Act.” See 5 U.S.C. § 552a(e)(9). It also requires agencies to design “safeguards to

[e]nsure the security and confidentiality of records and to protect against any anticipated threats

or hazards to their security or integrity which could result in substantial harm, embarrassment,

inconvenience, or unfairness to any individual on whom information is maintained.” Id. §

552a(e)(10). Defendants also have more detailed regulations implementing the Privacy Act’s

protections and providing additional agency-or system-specific privacy requirements. See, e.g.,

29 C.F.R. § 71 (DOL’s implementing regulations); 45 C.F.R. § 5b (HHS’s implementing

regulations); 45 C.F.R. Part 164 (HIPAA Security and Privacy Regulations). Similarly, the

Federal Information Security Modernization Act of 2014 (FISMA) requires agencies to provide

information security protection “commensurate with the risk and magnitude of the harm resulting

from unauthorized access [or] use” of information or information systems maintained by the

agency. 44 U.S.C. § 3554(a)(1)(A).

       This array of laws and regulations governing the disclosure of sensitive information

reflects the considerations that Congress has established to guide agencies’ policies and

decisionmaking with respect to maintenance and disclosure of private information. Taken

together, existing laws emphasize that federal information management should be governed by a

cautious, thorough, transparent, system-by-system approach, with a primary focus on responsible

stewardship of Americans’ information.

       That approach cannot be reconciled with the rapid, sweeping, unexplained, and

unreasoned changes embodied in the DOGE Data Access Policies. As detailed at length above,

the Agencies have abandoned the processes and inquiries they normally follow to justify access

to their most sensitive systems—the very “safeguards to insure the security and confidentiality of

records” that Agencies are supposed to use to avoid “substantial harm, embarrassment,



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inconvenience, or unfairness to . . . individual[s] on whom information is maintained.” 5 U.S.C.

§ 552a(e)(10). And the Agencies regularly ignored the rules of conduct and systems access

training that would normally be required for employees to understand and acknowledge the

responsibilities they are assuming by gaining access to sensitive records. See id. § 552a(e)(9).

       Second, Defendants also failed to account for the significant reliance interests that attach

to persons who submit personally identifying information to the federal government on the

understanding that such information shall be confidential and protected from disclosure, as

articulated in the numerous declarations submitted in support of this filing. Ex. 18 (Decl. Of J.

Reese) ¶ 8 (“I submitted my information with the trust that I can share information with the

government and that that information is going to be kept safe. As a result of the disclosures of

information from unemployment insurance records that DOL has made to DOGE, I no longer

think that’s true”); Ex. 19 (Decl. of D. Duckett) ¶ 9 (“I was never enthusiastic about having to

submit all of this personally identifiable information but I understood that it was necessary for

the state to provide my benefits….); Ex. 23 (Decl. of D. Gray) ¶ 8 (“I was told [my medical

information] was going to be extremely confidential—the only specific, qualified people would

have access to it.”); Ex. 17 (Decl. of T. Fry) ¶ 8 (“I believed that my personal information would

be stored securely and only used for legitimate purposes”). “When an agency changes course, as

[Defendants] did here, it must be cognizant that longstanding policies may have engendered

serious reliance interests that must be taken into account.” Regents of the Univ. of Cal., 591 U.S.

at 30 (internal quotation marks and citations omitted).

       Finally, Defendants have not meaningfully considered how the DOGE Data Access

Policies implicate conflicts of interest. DOL hosts information that is relevant to the outside




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businesses of Mr. Musk and a number of DOGE employees.6 But there is no indication that the

DOL has tailored the DOGE Data Access Policy to ensure confidential and competitively-

sensitive information is not extracted from agencies for the benefit of DOGE staff’s outside

interests, or accounted for the various laws protecting sensitive information from competitive

disclosure or conflicts of interest. See, e.g., 18 U.S.C. § 208(a) (prohibiting participation by

government employees in in matters or proceedings in which they have a financial interest); 18

U.S.C. § 1832 (prohibiting theft of trade secrets).

        While the guidelines for onboarding DOGE Team members to DOL and HHS

contemplates the Defendant Agencies “ascertain[ing] and mitigat[ing] any conflicts of interest”

that might exist with granting DOGE Teams access to Sensitive Systems, neither Defendant

actually assessed any conflicts of interest, instead relying on DOGE Team members to make

those assessments for themselves. See ECF No. 31-1 ¶ 9; Ex. 7 (DOL Dep.) at 97:6-100:5 (at

DOL nobody besides DOGE is “evaluating whether they have a conflict of interest” and it is up

to “the individual to disclose potential conflicts of interest and raise that to the solicitor’s office

for review”); Ex. 4 (HHS (Rice) Dep.) 38:19-40:23 (HHS did not assess conflicts of interest with

Amy Gleason or Brad Smith, relying on self-reporting); Ex. 30 at 25CV339_HHS00029.




6
 Mr. Musk’s companies have been the subject of (or are currently) the subject of enforcement
actions at DOL, including at least investigations at SpaceX, Tesla, and the Boring Company. See
Marisa Taylor, At SpaceX, worker injuries soar in Elon Musk’s rush to Mars, Reuters (Nov. 10,
2023), https://www.reuters.com/investigates/special-report/spacex-musk-safety/; Brandon
Lingle, Tesla hit with federal fines for worker safety violations at its Gigafactory Texas in Austin,
San Antonio Express-News (Nov. 26, 2024),
https://www.expressnews.com/business/article/tesla-texas-gigafactory-osha-fines-worker-safety-
19943647.php; OSHA, Inspection: 1677194.015 - Tbc The Boring Company,
https://www.osha.gov/ords/imis/establishment.inspection_detail?id=1677194.015 (last accessed
Feb. 5, 2025).
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       Defendant Agencies’ decision to rush DOGE through their doors, tossing out the normal

rulebook for controlling access to sensitive data, was not “the product of reasoned

decisionmaking,” and cannot be upheld under the APA. Motor Vehicle Mfrs. Ass’n of U.S., 463

U.S. at 52.

                   c.      The Data Access Policies are Contrary to Law Because
                           They Violate the Privacy Act and Agency Regulations

       Under the APA, a reviewing court shall “set aside agency action . . . found to be . . . not

in accordance with law” or “in excess of statutory jurisdiction, authority, or limitations, or short

of statutory right.” 5 U.S.C. § 706(2)(A), (C). An “agency action is ‘not in accordance with law’

if it violates some extant federal statute or regulation.” Ovintiv, 665 F. Supp. 3d at 72. The

DOGE Data Access Policies violate the Privacy Act, as well as HHS and DOL regulations

related to the Privacy Act, and should be set aside.7

       As this Court has noted, “Congress enacted the Privacy Act to ‘protect the privacy of

individuals identified in information systems maintained by Federal agencies.’” Mem. Op., ECF

78, (quoting Doe v. Chao, 540 U.S. 614, 618 (2004) (quoting The Privacy Act of 1974, Pub.

L93-579, § 2(a)(5), 88 Stat. 1896 (1974)). As relevant for this case, the Privacy Act regulates the

disclosure of records and imposes requirements on agencies to responsibly maintain their

recordkeeping systems. With respect to disclosure, the Act provides that outside of certain

enumerated exceptions, “No agency shall disclose any record which is contained in a system of

records by any means of communication to any person, or to another agency, except pursuant to




7
  As this Court recognized in rejecting Defendants’ Motion to Dismiss, Plaintiffs’ claim for
injunctive relief based on Defendants’ violations of the Privacy Act is properly brought under the
APA, notwithstanding that the Privacy Act contains its own remedial scheme for certain other
types of violations. See Mem. Op., ECF 78 at 29-32.
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a written request by, or with the prior written consent of, the individual to whom the record

pertains.” 5 U.S.C. § 552a(b).

       By granting access to their Sensitive Systems to DOGE Team members, Defendants have

disclosed records contained in a system of records without the consent of the individuals to

whom those records pertain. This access is allowable under the Privacy Act, then, only if it falls

within one of the enumerated exceptions. Defendants have previously argued that DOGE’s

access to sensitive agency records falls within the “Need to Know” exception. See Defs. Mot. To

Dismiss, ECF No. 49-1 at 28 (citing 5 U.S.C. § 552a(b)(1)). That exception allows for disclosure

to “those officers and employees of the agency which maintains the record who have a need for

the record in the performance of their duties.” 5 U.S.C. § 552a(b)(1). But Defendants cannot rely

on this exception where, as here, DOGE has neither established the “need for the record” nor that

they should be treated as “employees of the agency which maintains the record.”

                       i.        Disclosures to DOGE Teams Should Be Considered
                                 Disclosures to Outside the Agencies

       DOGE affiliates—even those who have been papered as employees of Agency

Defendants—continue to answer to DOGE while performing work at Defendant agencies. They

are, for the purposes of the Privacy Act analysis, functionally employees of DOGE, however

each individual’s employment might be papered. Agency Defendants’ disclosure of Privacy Act

information to DOGE affiliates therefore constitutes disclosure “to another agency” under 5

U.S.C. § 552a(b)—it is a release of protected information outside the agency.

       Defendants have attempted to cure the Privacy Act problems caused by unlawful details

from DOGE by documenting alternate employment relationships between their affiliates and

Defendant agencies. See Ex. 2 (DOGE Dep.) at 77:12-19 (USDS traditionally detailed

employees to agencies, but “upon the Court’s order, changed their practices”). But these


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formalistic arrangements cannot change the reality that DOGE affiliates report, first and

foremost, to DOGE, and should therefore be treated as DOGE employees. Most of the

individuals at issue in this case may not be paid by DOGE—though some are not paid at all, see,

e.g., Ex. 32 (Edward Cortistine working under gratuitous services agreement), Ex. 33 (same as to

Kyle Schutt), but, in situations where employees have simultaneous employment relationships

with multiple government component, they are not, as a “practical matter,” Jud. Watch, Inc. v.

Dep’t of Energy, 412 F.3d 125, 132 (D.C. Cir. 2005), automatically employees of the agency

paying their salary. Although the D.C. Circuit has not articulated a clear test for identifying a

true employer in such circumstances, it has adopted a functional approach that “requires an

evaluation of all the circumstances.” Id. at 131 (quoting Spirides v. Reinhardt, 613 F.2d 825, 831

(D.C. Cir. 1979)); Mem. Op., ECF 78 at 35. Those considerations can include the matters on

which an employee worked, who supervised them, and where the employees physically

performed their work. Jud. Watch, 412 F.3d at 131-32. These factors, as well as a holistic

consideration of the circumstances of DOGE affiliates’ work, leave little doubt that they are

functionally employees of DOGE, not of their host Defendant agencies.

       First, DOGE is choosing to place DOGE affiliates in host agencies; host agencies are not

hiring them sua sponte and then assigning them to DOGE teams. The January 20 EO explicitly

calls for DOGE to direct the placement of its affiliates at agencies, requiring, for example that

agency heads “select the DOGE Team members in consultation with the USDS Administrator.”

Ex. 1 (January 20 EO) at § 3(c) (emphasis added). The evidence here shows that DOGE is in fact

directing the placement and assignment of DOGE Team members at the agencies. For example,

Brad Smith, in his capacity as the lead DOGE official at HHS, “recommended” that HHS bring

on certain DOGE affiliates, including Brad Smith himself. See, e.g., Ex. 4 (HHS (Rice) Dep.) at



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20:11-16, 40:24-41:21. See also Declaration of Thomas H. Krause, Jr., New York v. Dep’t of

Treasury, No. 1:25-cv-01144-JAV, ECF No. 33, ¶ 3 (S.D.N.Y. Feb., 11 2025) (“USDS/DOGE

recommended to [DOGE operative already at Treasury] and to incoming Treasury leadership,

that [a specific individual] be selected as the Treasury DOGE Team’s technical team member,”

after which Treasury hired that individual).

       And the form of those arrangements is unusual: it is possibly unprecedented for the

Department of Labor to have employees or detailees with employment arrangements at multiple

other federal components, see Ex. 7 (DOL Dep.) at 37:4-37:10, see also Ex. 2 (DOGE Dep.) at

93:4-16 (at least one DOGE Team member has simultaneous employment relationships at eight

agencies).

       Second, DOGE affiliates are only present at their respective host agencies to perform

DOGE work. See, e.g., Ex. 4 (HHS (Rice) Dep.) at 21:2-8 (DOL brought on board DOGE Team

members “to make sure that we met the goals and requirements of the executive order, so we

were kind of building our scope and – and team to get the accomplishments that we wanted to

meet the requirements of the EO”). As the Court noted, the January 20 EO directs the DOGE

Teams at the agencies to work on “core USDS initiatives for USDS purposes.” ECF 78 at 35.

This is borne out by the actual work DOGE affiliates are performing; there is no difference in

Brad Smith’s functional responsibilities as a detailee to or employee of HHS and his duties

regarding HHS when he was employed only at DOGE. Id. at 43:14-24. DOGE also understand

those responsibilities to constitute DOGE work. Ex. 2 (DOGE Dep.) at 35:4-7 (DOGE team

work “is part of the, like, umbrella of the DOGE mission, right, and the President’s DOGE

agenda”). That work includes “efforts to cross-reference information across databases from

multiple agencies” as part of “ a mission and purpose that DOGE teams are generally working



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on.” Id. at 116:4-21. This Court has already recognized that “USDS employees’ jobs at the

agency defendants entail carrying out the DOGE agenda at those agencies,” ECF No. 71, 12; this

necessarily muddies the water of reporting relationships.

       Third, DOGE affiliates are functionally supervised by DOGE. Interagency agreements

make clear that, in some instances, DOGE affiliates expressly and formally report to the Acting

Administrator of DOGE even while performing work focused on the Defendant agency which

nominally employs them. The agreement between DOGE and HHS on Terms and Conditions for

Reimbursable Work and Non-Reimbursable Work, for instance, provides that “USDS employees

will . . . report to and be supervised by their USDS supervisor when at USDS facilities and on

USDS systems, even when performing work with the scope of the Agreement. Ex. 30 (CMS

Employment Agreement); Ex. 31 (HHS Employment Agreement) (emphasis added). At a

minimum, these agreements govern the work of Amy Gleason and Brad Smith at HHS.8

       And these clauses may not reflect every situation in which the employees they cover

report to DOGE even when conducting agency work; the agreements are silent on employees’

reporting obligations when they use DOGE equipment at an agency facility or vice-versa—

circumstances which do arise. See, e.g., Ex. 2 (DOGE Dep.) at 99:16-24 (DOGE personnel have

used agency systems outside agency facilities), 117:1-118:11 (DOGE personnel have used

agency systems at DOGE facilities)

       That the DOGE Affiliates are functionally supervised by DOGE is also clear from the

Executive Orders themselves. As the Court noted, the January 20 EO tasks DOGE Teams “with

‘implementing the President’s DOGE Agenda’—in other words, with executing the agenda laid




8
 Defs’. Responses at 6, 17 (Amy Gleason and Brad Smith are both employed at both HHS and
detailed to DOGE).
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out in the DOGE E.O. and other relevant Executive Orders—as interpreted by the USDS

Administrator.” ECF 78 at 35, citing the January 20 EO §§ 3(c), 4. The January 20 EO further

requires DOGE affiliates to “coordinate their work with” DOGE, but requires only that those

teams “advise” the heads of their respective host agencies. To “coordinate” their work with

DOGE means that DOGE Teams must “bring into a common action, movement, or condition” or

“harmonize” their work with DOGE. “Coordinate,” Merriam-Webster Online,

https://www.merriam-webster.com/dictionary/coordinate. It would be impossible for each

agency DOGE Team across the government to make DOGE’s work and expectations conform to

the work of the individual agency DOGE Teams; coordination therefore can only mean that

DOGE Teams are required to work in a way that “harmonizes” with the instructions and

expectations of DOGE. That coordination is not merely speculative, it is ongoing: “DOGE . . .

certainly coordinates with most, if not all, the DOGE agency teams.” Ex. 2 (DOGE Dep.) at

124:19-21.

       In contrast, agency DOGE Teams are required only to “advise” host agency heads, a

function that requires neither supervision from the agency head nor any form of coordination.

And there is little question that the Executive Order is the lone source of guardrails or guidance

for DOGE affiliates’ work. See Ex. 7 (DOL Dep.) at 40:24-41:4 (describing DOGE executive

orders as “an instruction or a guide for Department of Labor employees to – to – work with

[DOGE] staff. There’s no other policies in place”). Even in DOGE’s characterization, DOGE

affiliates at least sometimes operate as DOGE employees when they are working at agencies—

including when advising agency heads. “[A]s an employee of USDS [a DOGE affiliate] can give

consultation and advice on how HHS DOGE team could implement . . . the DOGE agenda.” Ex.

2 (DOGE Dep.) at 80:5-80:9. When giving such advice to HHS, a DOGE affiliate “reports up to



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the [USDS] supervisory chain of command,” id. 81:9-11, but when “doing work at HHS he is

reporting up to HHS agency leadership.” Id. 81:12-13. This balance of control of DOGE Teams’

work weighs heavily in favor of a conclusion that DOGE is their actual employer.

          Taken together, it is apparent that DOGE employees, whether detailed to Defendant

agencies from DOGE (or elsewhere) or “hired” as SGEs or “experts,” are not typical agency

employees or detailees. They take direction from a government component besides the agency

where they work, operate pursuant to an Executive Order which makes them beholden to that

same government component, and use technology equipment from outside their host agencies.

This court should resist a formulaic approach requiring it to ignore these considerations to

instead identify them as employees of their host agencies solely on the basis of who pays them.

Such a result would hypothetically allow an administration to subvert the entire Privacy Act

through one well-placed employee at each government component, assigned to report to a single

office.

                         ii.     DOGE Does Not Have a Need to Access Agency Systems

          In order to establish that their grants of access fall within the “Need to Know” exception,

DOL and HHS must show that “the official examined the record in connection with the

performance of duties assigned to him and [that] he had to do so in order to perform those duties

properly.” Bigelow v. Dep’t of Def., 217 F.3d 875, 877 (D.C. Cir. 2000). As detailed at length,

above, the Defendant Agencies did not even attempt to do this before granting access. DOL

admitted that the “questions that don’t get asked of DOGE” before permitting DOGE to access

some highly-sensitive data include “why[] the access is needed” and “what [] the access will be

used for.” See Ex. 7 (DOL Dep.) at 76:1-20. HHS admitted that it does not conduct any

“individualized review” to confirm that DOGE has a need to access the Sensitive Systems it has



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requested access to. See Ex. 13 (HHS (Wendel) Dep.) at 29:11-31:18. DOL and HHS necessarily

fail to establish the “Need to Know” exception for this reason alone.

       Instead of a particularized analysis, the Defendant Agencies simply treated the January

20 EO as self-executing directives, instantly and comprehensively revealing sensitive data to

DOGE. See, e.g., Ex. 7 (DOL Dep.) at 72:1-19 (it is “apparent” that DOGE’s access to

unemployment data . . . falls within th[e] roles and responsibilities as outlined in the executive

orders.”); Ex. 13 (HHS (Wendel) Dep.) at 33:2-19 (HHS made an “inference” that DOGE was

requesting access to sensitive systems to “look[] for waste, fraud, or abuse” because the official

had “read the executive order, so [she] knew that’s what they were doing.”).

       But the EOs do not—and cannot—by themselves establish DOGE Team members’

“need” to access dozens of sensitive systems. As an initial matter, at least one circuit has rejected

the argument that an executive order, without more, can automatically justify disclosing

information protected by the Privacy Act. See Parks v. U.S. Internal Revenue Serv., 618 F.2d

677, 681 (10th Cir. 1980). In this case, the executive orders cited also cannot justify a blanket

need to access dozens of Sensitive Systems because this broad access runs directly counter to the

purpose of the Privacy Act.

       The Privacy Act was “designed to prevent the kind of illegal, unwise, overbroad,

investigation and record surveillance of law-abiding citizens produced in recent years from

actions of some over-zealous investigators, and the curiosity of some government administrators,

or the wrongful disclosure and use, in some cases, of personal files held by Federal agencies,” S.

Rep. No. 1183, 93d Cong., 2d Sess. (1974), and was motivated by a concern that “every detail of

our personal lives can be assembled instantly for use by a single bureaucrat or institution.”

Danielle Keats Citron, A More Perfect Privacy, 104 B.U. L. Rev. 1073, 1078 (2024) (first



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quoting 120 Cong. Rec. 36,917 (1974) (statement of Sen. Goldwater) and then quoting 120

Cong. Rec. 36,917 (statement of Sen. Percy)).

       The agencies’ broad grants of access do just that. Allowing DOGE Team members to

access any unclassified system—or all systems—at will, based exclusively on the EOs would

“allow the exception to swallow the rule,” Dick v. Holder, 67 F. Supp. 3d 167, 178 (D.D.C.

2014), and would gut the very protections the Privacy Act is designed to provide. Indeed, there

do not appear to be any cases endorsing a “need” to access the sensitive records of millions of

Americans. The only courts to address this issue in the context of granting agency-wide records

access to DOGE have agreed that the “Need to Know” exception does not apply. Am. Fed’n of

Tchrs., 2025 WL 895326 at 24 (D. Md. Mar. 24, 2025); AFL-CIO, 2025 WL 868953 at 64 (D.

Md. Mar. 20, 2025). “In short, the order[s], which [were] at odds with the stated legislative

purpose of the Privacy Act, do[] not license the defendants to violate the Privacy Act.” Parks,

618 F.2d at 681.

       Even if this court were to accept that the executive orders could justify agency-wide

system access, the EOs do not, by their own terms, provide the justification on which the

agencies now rely. The Agencies now justify the need for widespread DOGE Team system

access by repeating the mantra of “waste, fraud and abuse,” see, e.g., Ex. 13 (HHS (Wendel)

Dep.) at 27:11-14; Ex. 7 (DOL Dep.) at 22:17-23:2. But the January 20 EO establishing DOGE

says nothing about waste, fraud, or abuse at all. Instead, it tasked the USDS Administrator with

“improv[ing] the quality and efficiency of government-wide software, network infrastructure,

and information technology (IT) systems.” Ex. 1 (Jan. 20 EO).9



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  It also tasked DOGE Teams with helping “implement[] the President’s DOGE Agenda,” an
undefined term that is not obviously susceptible to understanding any given employee’s
responsibilities. Id. § 3(c)
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         The February 26 EO at least used the magic words. But this EO applies only

“discretionary spending through Federal contracts, grants, loans and related instruments, but

excludes direct assistance to individuals.” Id. § 2(d) (emphasis added). By its plain terms, the

February 26 EO cannot justify DOGE access to “[u]nemployment claims from states’

unemployment insurance agencies,” Ex. 7 (DOL Dep). at 59:22-24, or “child support payments,”

Ex. 13 (HHS (Wendel) Dep.) at 42:17-44:19, or the “basic accounting system” for Medicare and

Medicaid payments, Ex. 4 (HHS (Rice) Dep.) 31:2-9. Even if it could, by February 26, 2025, the

Agencies had given the DOGE Teams access to numerous Sensitive Systems. See, e.g. Ex. 3

(Defs.’ Responses) at 6-7 (Luke Farritor had access to sensitive systems as early as January 22,

2025).

         The March 20 EO is also insufficient. It orders Agency Heads to grant certain employees

“full and prompt access to all unclassified agency records . . . for purposes of pursuing

Administration priorities related to . . . waste, fraud, and abuse.” Ex. 6 (March 20 EO) at § 3(a).

It does not identify what those priorities are, how they are to be undertaken, which records are to

be evaluated, or what job functions the people seeking access would be filling, aside from

“designees.”

         In a similar case this week related to DOGE’s access to Sensitive Systems at the Social

Security Administration, the court found in granting a preliminary injunction that the agency’s

explanations of employees’ need to know (which were more substantial than anything

Defendants have offered in this case) had failed to demonstrate “that the DOGE Team members

required unlimited access to PII to perform their work.” Mem. Op. on Pltfs’ Mot. for a

Preliminary Injunction, Am. Fed’n of State, Cnty. and Municipal Emps. v. Social Sec. Admin.,

ELH-25-0596, ECF No. 146 at 126 (D. Md. Apr. 17, 2025). The court noted that seeking



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“unprecedented, unfettered access to virtually SSA’s entire data systems” could not be justified

without “explanation as to why or how the particular records correlated to the performance of job

duties,” including the detection of fraud, waste, and abuse. See id. at 120-21.

                           iii. The DOGE Data Access Policies Also Violate Agency
                                Regulations

       In addition to violating the Privacy Act, the HHS and DOL DOGE Data Access Policies

also violate each agency’s own regulations. Specifically, each agency has promulgated, through

notice and comment rulemaking, regulations that prohibit disclosure of their records except as

permitted by the Privacy Act. DOL, for example, established confidentiality requirements for

various sets of sensitive data. See, e.g. 20 C.F.R. § 10.10 (FECA) (“All records relating to claims

for benefits, including copies of such records maintained by an employer, are considered

confidential and may not be released, inspected, copied or otherwise disclosed except as

provided in the Freedom of Information Act and the Privacy Act of 1974 or under the routine

uses provided by DOL/GOVT-1 if such release is consistent with the purpose for which the

record was created.”). Similarly, HHS has established regulations likewise protecting records

from unauthorized disclosure and implementing the requirements of the Privacy Act. See 45

C.F.R. § 5b.9(a). Because Defendants violate the Privacy Act, they also violate these regulations.

       III. Plaintiffs Face Irreparable Injury from the Continued Effect of the DOGE
            Access Policies
       For many of the same reasons that Plaintiffs have established standing, supra at 15-21,

they have also demonstrated that the sharing of information by DOL and HHS with DOGE will

cause irreparable harm. “An irreparable harm is an imminent injury that is both great and certain

to occur, and for which legal remedies are inadequate.” Beattie v. Barnhart, 663 F. Supp. 2d 5, 9

(D.D.C. 2009).



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       DOGE’s ongoing unauthorized access to sensitive employment, health, and financial data

will cause irreparable harm. See Hum. Touch DC, Inc. v. Merriweather, No. 15-CV-00741

(APM), 2015 WL 12564166 (D.D.C. May 26, 2015) (finding irreparable harm and granting

injunction where former employee accessed and forwarded emails with confidential patient

information without authorization); Hirschfeld v. Stone, 193 F.R.D. 175, 187 (S.D.N.Y. 2000)

(“The harm at issue here—disclosure of confidential information—is the quintessential type of

irreparable harm that cannot be compensated or undone by money damages.” (citing Hawai’i

Psychiatric Soc’y v. Ariyoshi, 481 F. Supp. 1028, 1052 (D. Haw. 1979))); see also Plante v.

Gonzalez, 575 F.2d 1119, 1135 (5th Cir. 1978) (“When a legitimate expectation of privacy

exists, violation of privacy is harmful without any concrete consequential damages”; see also

Nat’l Sec. News Serv. v. Dep’t of the Navy, 584 F. Supp. 2d 94, 96 (D.D.C. 2008) (in FOIA

context, “[r]ecords . . . indicating that individuals sought medical treatment at a hospital are

particularly sensitive”).

       As described above, the data systems housed at DOL and HHS, including the very data

systems that Defendants admit DOGE Teams are accessing, include extremely sensitive

information about Plaintiffs’ members, including their Social Security numbers, their

employment histories, and a breakdown of their wage for the past eight weeks. See Ex. 15 (Decl.

of M. Evermore); Ex. 18 (Decl. of J. Reese) ¶¶ 5-6. For the hundreds of thousands of members of

Plaintiffs enrolled in Medicare, that information includes intimate medical details, including their

diagnoses, medical procedures they have undergone, and medical notes. See Ex. 12 (Wendel

Chart). Disclosure of this information to DOGE is an actual harm to Plaintiffs’ members, who

did not consent to DOGE accessing their sensitive information and who face injury in the form

of a privacy violation every day because unauthorized individuals access their private data.



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Members placed their trust in the government to protect their data and unsurprisingly are angry

that the Agencies have violated that trust. Ex. 18 (Decl. of J. Reese) ¶ 8; Ex. 19 (Decl. of D.

Duckett); see also Ex. 16 (Decl. of C. Sullivan) ¶ 8; Ex. 21 (Decl. of D.M. Smith) ¶ 11; Ex. 23

(Decl. of D. Gray) ¶¶ 7, 9; Ex. 17 (Decl. of T. Fry) ¶¶ 9, 11; ECF 29-18 ¶ 6; ECF 29-22 ¶ 7; ECF

29-21 ¶ 7. They are also reasonably worried that their information will be leaked or otherwise

misused due to the haphazard and slapdash nature of the Agencies’ decisions to hand over their

data to untrained members of the DOGE Team. Ex. 18 (Decl. of J. Reese) ¶ 9; Ex. 19 (Decl. of

D. Duckett); Ex. 16 (Decl. of C. Sullivan) ¶ 8; Ex. 21 (Decl. of D.M. Smith) ¶ 12; Ex. 24 (Decl.

of D. McNeil) ¶¶ 16-18; Ex. 23 (Decl. of D. Gray) ¶¶ 8-9; Ex. 17 (Decl. of T. Fry) ¶¶ 9-11; Ex.

20 (Decl. of P. Welsh) ¶ 6; ECF 29-20

       Plaintiffs also have no reason to believe that the pace and scope of DOGE Data Access is

slowing down. Since this case was first filed, President Trump has issued a slew of additional

executive orders tasking DOGE with additional responsibilities at federal agencies, including:

       •   Consulting with each Agency Head to “develop a data-driven plan . . . to ensure new
           career appointment hires are in highest need areas,” and identifying career official
           vacancies “that the DOGE Team Lead assesses should not be filled;” Ex. 34 (Exec.
           Order No. 14,210 § 3(b), 90 Fed. Reg. 9,669 (Feb. 11, 2025));

       •   “[I]dentify[ing] all . . . sources of Federal funding for illegal aliens” and
           “recommend[ing] . . . agency actions to align Federal spending with” the President’s
           immigration policies, Ex. 35 (Exec. Order No. 14,218 § 2(b), 90 Fed. Reg. 10,581
           (Feb. 19, 2025));

       •   Consulting with “agency heads . . . on potential new regulations,” Ex. 36 (Exec.
           Order No. 14,219 § 4, 90 Fed. Reg. 10,583 (Feb. 19, 2025));

       •   Consulting with “[e]ach Agency Head” to “conduct a comprehensive review of each
           agency’s contracting policies, procedures, and personnel,” after each federal agency
           has “buil[t] a centralized technological system . . . to seamlessly record every
           payment issued by the agency pursuant to each of the agency’s covered contracts and
           grants.” Ex. 5 (Feb. 26 EO);



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        •   Obtaining “full and prompt access to all unclassified agency records, data, software
            systems, and information technology systems . . . for the purpose of pursuing
            Administration priorities related to the identification and elimination of waste, fraud,
            and abuse” including undertaking “both the intra- and inter-agency sharing and
            consolidation of unclassified agency records,” and “receiv[ing] . . . unfettered access
            to all unemployment data and related payment records, including all such data and
            records currently available to the Department of Labor’s Office of Inspector
            General,” Ex. 6 (March 20 EO); and

        •   “[C]oordinat[ing]” with the Department of Homeland Security to “review each
            State’s publicly available voter registration list . . . alongside Federal immigration
            databases and State records,” Ex. 37 (Exec. Order No. 14,248 § 2(b)(iii), 90 Fed. Reg.
            14,005 (Mar. 25, 2025)).

        The record in this case shows that the Defendant Agencies treat executive orders as

effectively self-executing when it comes to granting DOGE access to Sensitive Systems, and

each additional executive order granting DOGE new authorities creates new plausible claims to

sensitive data housed at federal agencies.

III.     Balance of the Equities

        “It is well established that the Government cannot suffer harm from an injunction that

merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020)

(internal quotation marks and citations omitted). Likewise, “[t]here is generally no public interest

in the perpetuation of unlawful agency action.” Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148,

179 (D.D.C. 2017) (citing League of Women Voters of United States v. Newby, 838 F.3d 1, 12

(D.C. Cir. 2016)). “To the contrary, there is a substantial public interest in having governmental

agencies abide by the federal laws—such as the APA, as well as regulations . . .—that govern

their existence and operations.” Id. (internal quotation marks and citations omitted). Thus, for the

same reasons that Plaintiffs are likely to succeed on the merits, equity requires relief.

        But even if this Court were to balance Defendants’ interests as if it were a private party,

the balance of equities and public interest would still overwhelmingly favor Plaintiffs. Neither


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Defendants, nor any non-defendant component of the Government, have any lawful or legitimate

need to commandeer the Agency Defendants’ information systems or the data within them in this

abrupt, unlawful, unreasoned, and chaotic manner.

                                        CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully submit that the Court should enter

a preliminary injunction bringing to a halt the unlawful access that DOL and HHS have given

DOGE Teams to their Sensitive Systems, as set forth in the accompanying proposed order.


Dated: April 18, 2025                                Respectfully submitted,


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